      Case 1:98-cr-00038-JMS-MJD Document 84 Filed 03/22/16 Page 1 of 2 PageID #: 1087
AO 247 (Rev. 11/11) Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)      Page 1 of 2 (Page 2 Not for Public Disclosure)


                                      UNITED STATES DISTRICT COURT
                                                                        for the
                                                        Southern District
                                                      __________ District of
                                                                          ofIndiana
                                                                             __________

                    United States of America
                               v.                                          )
                         Anthony Spradley                                  )
                                                                           )    Case No: 1:98CR00038-001
                                                                           )    USM No: 05772-028
Date of Original Judgment:                            12/08/1999           )
Date of Previous Amended Judgment:                                         )    Pro Se
(Use Date of Last Amended Judgment if Any)                                      Defendant’s Attorney


                  ORDER REGARDING MOTION FOR SENTENCE REDUCTION
                           PURSUANT TO 18 U.S.C. § 3582(c)(2)
        Upon motion of ✔   u the defendant u the Director of the Bureau of Prisons u the court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion, and taking into account the policy statement set forth at USSG §1B1.10
and the sentencing factors set forth in 18 U.S.C. § 3553(a), to the extent that they are applicable,
IT IS ORDERED that the motion is:
           ✔ DENIED. u GRANTED and the defendant’s previously imposed sentence of imprisonment (as reflected in
           u
the last judgment issued) of                   months is reduced to                                      .
                                             (Complete Parts I and II of Page 2 when motion is granted)



    Mr. Spradley's offense level was not determined based on the Drug Quantity Table found at U.S.S.G. § 2D1.1;
    therefore, Amendment 782 has not lowered his guideline range.




Except as otherwise provided, all provisions of the judgment dated                                            shall remain in effect.
IT IS SO ORDERED.

Order Date:           March 22, 2016
                                                                                  ________________________________
Effective Date:                                                                   LARRY J. McKINNEY, JUDGE
                     (if different from order date)                               United States District Court
                                                                                  Southern District of Indiana
Case 1:98-cr-00038-JMS-MJD Document 84 Filed 03/22/16 Page 2 of 2 PageID #: 1088




 Distribution:

 Anthony D. Spradley
 Reg. No. 05772-028
 FCI Manchester
 Federal Correctional Institution
 P.O. Box 4000
 Manchester, KY 40962

 Electronically Registered Counsel
